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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   TERRE HAUTE DIVISION

   ROGER TODD,                                       )
                                                     )
                 Plaintiff,                          )
                                                            Case No. 2:19-cv-00085-JMS-DLP
   v.                                                )
                                                     )
   OCWEN LOAN SERVICING, INC., and                   )
   DEUTSCHE BANK NATIONAL TRUST CO.,                 )
   as Trustee for NovaStar Mortgage Funding          )
   Trust, Series 2007-1,                             )
                                                     )
                 Defendant.
                                                     )


               DEFENDANT OCWEN LOAN SERVICING, LLC’S RESPONSES TO
                      PLAINTIFF’S REQUESTS FOR PRODUCTION

          Defendant Ocwen Loan Servicing, LLC (“Defendant”), incorrectly named in the caption

   as Ocwen Loan Servicing, Inc., through its undersigned counsel, responds to Plaintiff Roger

   Todd’s Requests for Production as follows:

          1.     Full and complete copies of all notes, reports, memoranda, statements, entries,

   emails, electronic messages, invoices or other documents referring to, relating to and/or

   justifying each and every assessed fee, expense and/or charge shown in the Life of Loan History

   attached as "Exhibit C" to the Plaintiff’s First Amended Complaint and Demand for Jury Trial.

          RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, seeks information protected by the attorney-client

   privilege, and seeks information neither relevant to the claims or defenses in this matter

   nor proportional to the needs of this case. Subject to and without waiving said objections,

   see the servicing notes and records produced contemporaneously herewith, along with

   copies of the subject note and mortgage.        Please note the records produced herewith

   contain certain redaction to help limit the disclosure of Plaintiff’s personal information


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   such as his social security number.         Please note they also contain redactions where

   applicable to protect communications protected by the attorney-client privilege.

          2.       Full and complete copies of all invoices, notes, reports, memoranda, statements,

   entries, emails, electronic messages, or other documents referring to, relating to and/or justifying

   the following fees and expenses assessed during the Bankruptcy Case: broker price opinion

   ("BPO") on October 24, 2014 ($121.00), attorney fees for the "Review of Plan/Notice of

   Appearance on June 6, 2013 ($150.00), and "Prior Servicer Fees" on June 6, 2014 ($1,471.71),

   July 8, 2014 ($519.82), and September 8, 2014 ($68.75).

          RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, seeks information protected by the attorney-client

   privilege, and seeks information neither relevant to the claims or defenses in this matter

   nor proportional to the needs of this case. Subject to and without waiving said objections,

   see the servicing notes and records produced contemporaneously herewith, along with

   copies of the subject note and mortgage.          Please note the records produced herewith

   contain certain redaction to help limit the disclosure of Plaintiff’s personal information

   such as his social security number.         Please note they also contain redactions where

   applicable to protect communications protected by the attorney-client privilege.

          3.       As reflected by the Life of Loan History attached as "Exhibit C" to the Plaintiff’s

   First Amended Complaint and Demand for Jury Trial, full and complete copies of all invoices,

   notices, notes, reports, memoranda, statements, entries, emails, electronic messages, or other

   documents referring to, relating to and/or justifying the following fees and expenses assessed

   after the Bankruptcy Case:

               Provider       Description                     Date of Service    Amount

               Altisource     Ocwen BPO                       06/21/2016           $110.00

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            Provider       Description                    Date of Service   Amount

            Altisource     No Contact Inspection          8/3/2016            $13.25
            Altisource     No Contact Inspection          12/14/2016          $13.25
            Altisource     No Contact Inspection          12/27/2016          $13.25
            Altisource     No Contact Inspection          1/16/2016           $13.25
            Altisource     Exterior Property Inspection   2/14/2016           $13.25
            Altisource     Exterior Property Inspection   3/16/2016           $13.25
            Altisource     Exterior Property Inspection   4/18/2016           $14.50
            Altisource     Exterior Property Inspection   5/19/2016           $14.50
            Altisource     Exterior Property Inspection   6/19/2016           $14.50
            Altisource     Exterior Property Inspection   7/24/2017           $14.50
            Altisource     Exterior Property Inspection   8/3/2016            $14.50
            Altisource     Exterior Property Inspection   12/14/2016          $14.50
            Altisource     Exterior Property Inspection   12/27/2016          $14.50
            Altisource     Exterior Property Inspection   1/16/2017           $14.50
            Altisource     Exterior Property Inspection   2/14/2017           $14.50
            Altisource     Exterior Property Inspection   3/16/2017           $14.50
            Altisource     Exterior Property Inspection   4/18/2017           $14.50
            Altisource     Exterior Property Inspection   5/19/2017           $14.50
            Altisource     Exterior Property Inspection   6/19/2017           $14.50
            Altisource     Exterior Property Inspection   7/24/2017           $14.50
            Altisource     Exterior Property Inspection   8/25/2017           $14.50
            Altisource     Exterior Property Inspection   9/26/2017           $14.50
            Altisource     Exterior Property Inspection   10/28/2017          $14.50
            Altisource     Exterior Property Inspection   11/28/2017          $14.50
            Altisource     Exterior Property Inspection   12/28/2017          $14.50
            Altisource     Exterior Property Inspection   1/29/2018           $14.50
            Altisource     Exterior Property Inspection   3/2/2018            $14.50
            Altisource     Exterior Property Inspection   4/2/2018            $14.50
            Altisource     Ocwen BPO                      4/5/2018           $110.00
            Altisource     Exterior Property Inspection   4/30/2018           $14.50
            Altisource     Exterior Property Inspection   6/5/2018            $14.50
            Altisource     Exterior Property Inspection   7/10/2018           $14.50
            Altisource     Exterior Property Inspection   7/31/2018           $14.50
            Altisource     Exterior Property Inspection   9/4/2018            $14.50
            Altisource     Exterior Property Inspection   10/3/2018           $14.50
            Altisource     Exterior Property Inspection   1/9/2018            $14.50

          RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, seeks information protected by the attorney-client

   privilege, and seeks information neither relevant to the claims or defenses in this matter

   nor proportional to the needs of this case. Subject to and without waiving said objections,


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   see the servicing notes and records produced contemporaneously herewith, along with

   copies of the subject note and mortgage.         Please note the records produced herewith

   contain certain redaction to help limit the disclosure of Plaintiff’s personal information

   such as his social security number.         Please note they also contain redactions where

   applicable to protect communications protected by the attorney-client privilege.

          4.      Full and complete copies of all notes, reports, memoranda, statements, entries,

   emails, electronic messages, or other documents referring to, relating to and/or justifying each of

   the following balances in Suspense as reflected by the Life of Loan History attached as

   "Exhibit C" to the Plaintiff’s First Amended Complaint and Demand for Jury Trial: $2,417.68 on

   or about November 7, 2012; $5,263.43 on or about May 6, 2013; $2,868.13 on or about February

   9, 2015; $874.17 on or about July 5, 2016; $1,941.18 on or about August 29, 2016; and

   $26,975.16 on or about November 15, 2016.

          RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, seeks information protected by the attorney-client

   privilege, and seeks information neither relevant to the claims or defenses in this matter

   nor proportional to the needs of this case. Subject to and without waiving said objections,

   see the servicing notes and records produced contemporaneously herewith, along with

   copies of the subject note and mortgage.         Please note the records produced herewith

   contain certain redaction to help limit the disclosure of Plaintiff’s personal information

   such as his social security number.         Please note they also contain redactions where

   applicable to protect communications protected by the attorney-client privilege.




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          5.      As reflected by the Life of Loan History attached as "Exhibit C" to the Plaintiff’s

   First Amended Complaint and Demand for Jury Trial, full and complete copies of all notes,

   reports, memoranda, statements, entries, emails, electronic messages, or other documents

   referring to, relating to and/or justifying Ocwen’s reversal of payments totalling $1,944.12 on or

   about July 6, 2015, which had previously paid from Suspense.

          RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, seeks information protected by the attorney-client

   privilege, and seeks information neither relevant to the claims or defenses in this matter

   nor proportional to the needs of this case. Subject to and without waiving said objections,

   see the servicing notes and records produced contemporaneously herewith, along with

   copies of the subject note and mortgage.         Please note the records produced herewith

   contain certain redaction to help limit the disclosure of Plaintiff’s personal information

   such as his social security number.        Please note they also contain redactions where

   applicable to protect communications protected by the attorney-client privilege.

          6.      Full and complete copies of all notes, reports, memoranda, statements, entries,

   emails, electronic messages, or other documents referring to, relating to and/or justifying why

   Ocwen's reversal of payments totaling $1,944.12 on or about July 6, 2015, previously paid from

   Suspense, were not returned to Suspense or applied elsewhere.

          RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, seeks information protected by the attorney-client

   privilege, and seeks information neither relevant to the claims or defenses in this matter

   nor proportional to the needs of this case. Defendant also objects to the above request on

   the basis that it assumes and/or is based on the premise that the $1,944.12 was “not



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   returned to Suspense or applied elsewhere.”           Subject to and without waiving said

   objections, see the servicing notes and records produced contemporaneously herewith,

   along with copies of the subject note and mortgage. Please note the records produced

   herewith contain certain redaction to help limit the disclosure of Plaintiff’s personal

   information such as his social security number. Please note they also contain redactions

   where applicable to protect communications protected by the attorney-client privilege.

          7.     Full and complete copies of all notes, reports, memoranda, statements, entries,

   emails, electronic messages, or other documents referring to, relating to and/or justifying the

   current whereabouts of the reversal of payments totaling $1,944.12 on or about July 6, 2015.

          RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, seeks information protected by the attorney-client

   privilege, and seeks information neither relevant to the claims or defenses in this matter

   nor proportional to the needs of this case. Subject to and without waiving said objections,

   see the servicing notes and records produced contemporaneously herewith, along with

   copies of the subject note and mortgage.        Please note the records produced herewith

   contain certain redaction to help limit the disclosure of Plaintiff’s personal information

   such as his social security number.        Please note they also contain redactions where

   applicable to protect communications protected by the attorney-client privilege.

          8.     As reflected by the Life of Loan History attached as "Exhibit C" to the Plaintiff’s

   First Amended Complaint and Demand for Jury Trial, full and complete copies of all notes,

   reports, memoranda, statements, entries, emails, electronic messages, or other documents

   referring to, relating to and/or justifying Ocwen's reversal of payments totaling $972.06 on or

   about July 22, 2015, which had previously been paid from Suspense.



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          RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, seeks information protected by the attorney-client

   privilege, and seeks information neither relevant to the claims or defenses in this matter

   nor proportional to the needs of this case. Subject to and without waiving said objections,

   see the servicing notes and records produced contemporaneously herewith, along with

   copies of the subject note and mortgage.       Please note the records produced herewith

   contain certain redaction to help limit the disclosure of Plaintiff’s personal information

   such as his social security number.       Please note they also contain redactions where

   applicable to protect communications protected by the attorney-client privilege.

          9.     Full and complete copies of all notes, reports, memoranda, statements, entries,

   emails, electronic messages, or other documents referring to, relating to and/or justifying why

   $402.90 of Ocwen's reversal of payments totaling $972.06 on or about July 22, 2015, funds

   previously moved from Suspense, were not returned to Suspense or applied elsewhere.

          RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, seeks information protected by the attorney-client

   privilege, and seeks information neither relevant to the claims or defenses in this matter

   nor proportional to the needs of this case. Defendant also objects to the above request on

   the basis that it assumes and/or is based on the premise that the $402.90 was “not returned

   to Suspense or applied elsewhere.” Subject to and without waiving said objections, see the

   servicing notes and records produced contemporaneously herewith, along with copies of the

   subject note and mortgage. Please note the records produced herewith contain certain

   redaction to help limit the disclosure of Plaintiff’s personal information such as his social




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   security number. Please note they also contain redactions where applicable to protect

   communications protected by the attorney-client privilege.

            10.   Full and complete copies of all notes, reports, memoranda, statements, entries,

   emails, electronic messages, or other documents referring to, relating to and/or justifying the

   current whereabouts of the $402.90 of Ocwen’s reversal of payments totaling $972.06 on or

   about July 22, 2015, previously moved from Suspense but not applied elsewhere as set forth

   above.

            RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, seeks information protected by the attorney-client

   privilege, and seeks information neither relevant to the claims or defenses in this matter

   nor proportional to the needs of this case. Defendant also objects to the above request on

   the basis that it assumes and/or is based on the premise that the $402.90 was “not returned

   to Suspense or applied elsewhere.” Subject to and without waiving said objections, see the

   servicing notes and records produced contemporaneously herewith, along with copies of the

   subject note and mortgage. Please note the records produced herewith contain certain

   redaction to help limit the disclosure of Plaintiff’s personal information such as his social

   security number. Please note they also contain redactions where applicable to protect

   communications protected by the attorney-client privilege.

            11.   As reflected by the Life of Loan History attached as "Exhibit C" to the Plaintiff’s

   First Amended Complaint and Demand for Jury Trial, full and complete copies of all notes,

   reports, memoranda, statements, entries, emails, electronic messages, or other documents

   referring to, relating to and/or justifying why Ocwen's "BK Escrow Adjustment" on August 6,




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   2015, resulted in the transfer of $569.16 from Suspense that was not transferred to Todd's escrow

   account, used to pay taxes or insurance, or returned to Suspense.

          RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, seeks information protected by the attorney-client

   privilege, and seeks information neither relevant to the claims or defenses in this matter

   nor proportional to the needs of this case. Subject to and without waiving said objections,

   see the servicing notes and records produced contemporaneously herewith, along with

   copies of the subject note and mortgage.         Please note the records produced herewith

   contain certain redaction to help limit the disclosure of Plaintiff’s personal information

   such as his social security number.        Please note they also contain redactions where

   applicable to protect communications protected by the attorney-client privilege.

          12.     As reflected by the Life of Loan History attached as “Exhibit C” to the Plaintiff’s

   First Amended Complaint and Demand for Jury Trial, full and complete copies of all notes,

   reports, memoranda, statements, entries, emails, electronic messages, or other documents

   referring to, relating to and/or justifying why on August 2, 2016, Ocwen posted Todd's payment

   of $600.00 as a Suspense payment but his Suspense balance did not increase.

          RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, seeks information protected by the attorney-client

   privilege, and seeks information neither relevant to the claims or defenses in this matter

   nor proportional to the needs of this case. Subject to and without waiving said objections,

   see the servicing notes and records produced contemporaneously herewith, along with

   copies of the subject note and mortgage.         Please note the records produced herewith

   contain certain redaction to help limit the disclosure of Plaintiff’s personal information



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   such as his social security number.       Please note they also contain redactions where

   applicable to protect communications protected by the attorney-client privilege.

          13.    As reflected by the Life of Loan History attached as "Exhibit C" to the Plaintiff’s

   First Amended Complaint and Demand for Jury Trial, full and complete copies of all notes,

   reports, memoranda, statements, entries, emails, electronic messages, or other documents

   referring to, relating to and/or justifying why on January 4, 2017, Ocwen increase the principal

   balance of the Loan by $4,343.35.

          RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, seeks information protected by the attorney-client

   privilege, and seeks information neither relevant to the claims or defenses in this matter

   nor proportional to the needs of this case. Subject to and without waiving said objections,

   see the servicing notes and records produced contemporaneously herewith, along with

   copies of the subject note and mortgage.        Please note the records produced herewith

   contain certain redaction to help limit the disclosure of Plaintiff’s personal information

   such as his social security number.       Please note they also contain redactions where

   applicable to protect communications protected by the attorney-client privilege.

          14.    As reflected by the Life of Loan History attached as "Exhibit C" to the Plaintiff’s

   First Amended Complaint and Demand for Jury Trial, full and complete copies of all notes,

   reports, memoranda, statements, entries, emails, electronic messages, or other documents

   referring to, relating to and/or justifying why beginning on February 2, 2017, Ocwen increased

   the principal and interest portion of Todd's monthly payment obligation from $435.51 to

   $488.15.




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          RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, seeks information protected by the attorney-client

   privilege, and seeks information neither relevant to the claims or defenses in this matter

   nor proportional to the needs of this case. Subject to and without waiving said objections,

   see the servicing notes and records produced contemporaneously herewith, along with

   copies of the subject note and mortgage.         Please note the records produced herewith

   contain certain redaction to help limit the disclosure of Plaintiff’s personal information

   such as his social security number.         Please note they also contain redactions where

   applicable to protect communications protected by the attorney-client privilege.

          15.     Full and complete copies of each and every notice of payment change or notice of

   interest rate change sent by Ocwen to Todd in connection with Ocwen's increase of the principal

   and interest portion of Todd's monthly payment obligation from $435.51 to $488.15 beginning

   on February 2, 2017.

          RESPONSE: Defendant denies it increased the payment as referenced in the above

   request on February 2, 2017.

          16.     An up to date and exact reproduction of the life of loan mortgage transactional

   history for this loan on the system of record used by the servicer. For purposes of identification,

   the life of loan transactional history means any software program or system by which the

   servicer records the current mortgage balance, the receipt of all payments, the assessment of any

   late fees or charges, and the recording of any corporate advances for any legal fees or charges,

   and the recording of any corporate advances for any fees or charges including but not limited to

   property inspection fees, legal fees, escrow fees, processing fees or any other collateral charge.

   Also, to the extent this life of loan transactional history includes numeric or alphanumeric codes,



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   please attach a complete list of all such codes and state in plain English a short description for

   each such code.

          RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, seeks information protected by the attorney-client

   privilege, and seeks information neither relevant to the claims or defenses in this matter

   nor proportional to the needs of this case. Subject to and without waiving said objections,

   see the servicing notes and records produced contemporaneously herewith, along with

   copies of the subject note and mortgage.         Please note the records produced herewith

   contain certain redaction to help limit the disclosure of Plaintiff’s personal information

   such as his social security number.        Please note they also contain redactions where

   applicable to protect communications protected by the attorney-client privilege.

          17.      Copies of any and all servicing notes related to Ocwen's servicing of the loan at

   issue herein.

          RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, seeks information protected by the attorney-client

   privilege, and seeks information neither relevant to the claims or defenses in this matter

   nor proportional to the needs of this case. Subject to and without waiving said objections,

   see the servicing notes and records produced contemporaneously herewith, along with

   copies of the subject note and mortgage.         Please note the records produced herewith

   contain certain redaction to help limit the disclosure of Plaintiff’s personal information

   such as his social security number.        Please note they also contain redactions where

   applicable to protect communications protected by the attorney-client privilege.




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          18.     Full and complete copies of all notes, reports, memoranda, statements, entries,

   emails, electronic messages, or other documents referring to, relating to and/or justifying why

   during the Bankruptcy Case from April of 2011 to November of 2011 Ocwen applied $163.64 to

   escrow from each payment it received from Todd via the Trustee as opposed to applying $97.54

   to escrow per Ocwen's Proof of Claim and the Chapter 13 Plan filed in the Bankruptcy Case.

          RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, seeks information protected by the attorney-client

   privilege, and seeks information neither relevant to the claims or defenses in this matter

   nor proportional to the needs of this case. Subject to and without waiving said objections,

   Defendant states that it did not begin servicing the Loan until April 2012, and as such,

   cannot speak to the prior servicer’s application of payments made prior to then. However,

   Defendant refers Plaintiff to the servicing notes and records produced contemporaneously

   herewith to the extent they include information responsive to the above request. Please

   note the records produced herewith contain certain redaction to help limit the disclosure of

   Plaintiff’s personal information such as his social security number. Please note they also

   contain redactions where applicable to protect communications protected by the attorney-

   client privilege.

          19.     Full and complete copies of each and every Notice of Payment Change for the

   escrow increase described in the immediately preceding request.

          RESPONSE: Defendant states that it did not begin servicing the Loan until April

   2012, and as such, cannot speak to the prior servicer’s notices prior to then. However,

   Defendant refers Plaintiff to the servicing notes and records produced contemporaneously

   herewith to the extent they include information responsive to the above request. Please



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   note the records produced herewith contain certain redaction to help limit the disclosure of

   Plaintiff’s personal information such as his social security number. Please note they also

   contain redactions where applicable to protect communications protected by the attorney-

   client privilege.

          20.     Full and complete copies of all notes, reports, memoranda, statements, entries,

   emails, electronic messages, or other documents referring to, relating to and/or justifying why

   during the Bankruptcy Case from December of 2011 to August of 2012, Ocwen applied $163.64

   to escrow from each payment it received from Todd via the Trustee as opposed to applying $0.01

   per the Notice of Payment Change filed by Ocwen on November 16, 2011.

          RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, seeks information protected by the attorney-client

   privilege, and seeks information neither relevant to the claims or defenses in this matter

   nor proportional to the needs of this case. Subject to and without waiving said objections,

   Defendant did not begin servicing the Loan until April 2012, and as such, cannot speak to

   the prior servicer’s application of payments made prior to then. Answering further,

   Defendant refers Plaintiff to the servicing notes and records produced contemporaneously

   herewith. Please note the records produced herewith contain certain redaction to help limit

   the disclosure of Plaintiff’s personal information such as his social security number. Please

   note they also contain redactions where applicable to protect communications protected by

   the attorney-client privilege.

          21.     A complete statement of the amount of money which the Borrower must pay to

   cure any alleged outstanding default(s) on this loan and itemizing the components of that cure




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   payment figure including principal, accrued interest, late fees, corporate advances, legal fees and

   any other fees and charges included in the sum required to cure any outstanding default(s).

          RESPONSE: As stated in correspondence dated April 17, 2019 from Defendant’s

   Counsel to Plaintiff’s Counsel, Defendant applied a credit to the Loan in the amount of

   $1,598.49. That amount sufficiently accounted for any fees and charges Plaintiff alleges

   were improperly assessed on the Loan.          That amount also brought the Loan current

   through April 1, 2019, with the next installment due May 1, 2019. A more recent payoff

   statement dated May 30, 2019 reflects the amount due on the Loan as of that date. Both

   the April 17, 2019 letter and May 30, 2019 payoff statement are produced

   contemporaneously herewith.

          22.     Full and complete copies of all notes, reports, memoranda, statements, entries,

   emails, electronic messages, or other documents referring or relating to each and every telephone

   call regarding the Loan made by a representative of Ocwen to Todd, including without

   limitation the following telephone calls to Todd:

                  a.     On January 31, 2018 at approximately 6:12 p.m. Eastern Time.

                  b.     On February 13, 2018, at approximately 2:24 p.m. Eastern Time.

                  c.     On February 16, 2018 at approximately 3:04 p.m. Eastern Time.

                  d.     On March 2, 2018 at approximately 5:29 p.m. Eastern Time.

                  e.     On March 9, 2018 at approximately 12:52 p.m. Eastern Time.

                  f.     On March 15, 2018 at approximately 4:12 p.m. Eastern Time.

                  g.     On March 22, 2018 at approximately 9:32 p.m. Eastern Time.

                  h.     On March 27, 2018 at approximately 6:56 p.m. Eastern Time.

                  i.     On April 3, 2018 at approximately 12:26 p.m. Eastern Time.

                  j.     On April 6, 2018 at approximately 2:56 p.m. Eastern Time.


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               k.    On April 11, 2018 at approximately 12:55 p.m. Eastern Time.

               l.    On April 19, 2018 at approximately 2:20 p.m. Eastern Time.

               m.    On April 23, 2018 at approximately 2:58 p.m. Eastern Time.

               n.    On April 24, 2018 at approximately 12:26 p.m. Eastern Time.

               o.    On April 25, 2018 at approximately 11:37 a.m. Eastern Time.

               p.    On April 26, 2018 at approximately 10:06 a.m. Eastern Time.

               q.    On April 27, 2018 at approximately 10:41 a.m. Eastern Time.

               r.    On May 2, 2018 at approximately 11:38 a.m. Eastern Time.

               s.    On May 3, 2018 at approximately 10:27 a.m. Eastern Time.

               t.    On May 4, 2018 at approximately 11:00 p.m. Eastern Time.

               u.    On May 5, 2018 at approximately 4:26 p.m. Eastern Time.

               v.    On May 10, 2018 at approximately 10:30 a.m. Eastern Time.

               w.    On May 11, 2018 at approximately 11:38 a.m. Eastern Time.

               x.    On May 15, 2018 at approximately 9:39 a.m. Eastern Time.

               y.    On May 19, 2018 at approximately 10:40 a.m. Eastern Time.

               z.    On May 26, 2018 at approximately 9:48 a.m. Eastern Time

               aa.   On June 8, 2018 at approximately 11: 43 a.m. Eastern Time.

               bb.   On June 12, 2018 at approximately 11: 44 a.m. Eastern Time.

               cc.   On June 15, 2018 at approximately 11: 45 a.m. Eastern Time.

               dd.   On June 19, 2018 at approximately 3: 28 p.m. Eastern Time.

               ee.   On June 22, 2018 at approximately 11:34 p.m. Eastern Time.

               ff.   On June 26, 2018 at approximately 5:54 p.m. Eastern Time.

               gg.   On July 2, 2018 at approximately 5:54 p.m. Eastern Time.

               hh.   On July 9, 2018 at approximately 11:55 a.m. Eastern Time.

               ii.   On July 12, 2018 at approximately 11:12 a.m. Eastern Time.


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               jj.    On July 16, 2018 at approximately 1:56 p.m. Eastern Time.

               kk.    On July 19, 2018 at approximately 12: 54 p.m. Eastern Time.

               ll.    On July 24, 2018 at approximately 11:11 a.m. Eastern Time.

               mm.    On July 27, 2018 at approximately 12: 24 p.m. Eastern Time.

               nn.    On August 9, 2018 at approximately 9:26 a.m. Eastern Time.

               oo.    On August 16, 2018 at approximately 10: 06 a.m. Eastern Time.

               pp.    On August 21, 2018 at approximately 10:19 a.m. Eastern Time.

               qq.    On August 24, 2018 at approximately 10:04 a.m. Eastern Time.

               rr.    On August 28, 2018 at approximately 11:32 a.m. Eastern Time.

               ss.    On August 31, 2018 at approximately 5:24 p.m. Eastern Time.

               tt.    On September 5, 2018 at approximately 11:42 a.m. Eastern Time.

               uu.    On September 10, 2018 at approximately 12:30 p.m. Eastern Time.

               vv.    On September 13, 2018 at approximately 10:46 a.m. Eastern Time.

               ww.    On September 19, 2018 at approximately 12:28 p.m. Eastern Time.

               xx.    On September 24, 2018 at approximately 3:22 p.m. Eastern Time.

               yy.    On September 27, 2018 at approximately 12: 28 p.m. Eastern Time.

               zz.    On October 2, 2018 at approximately 12:51 p.m. Eastern Time.

               aaa.   On October 5, 2018 at approximately 12:47 p.m. Eastern Time.

               bbb.   On October 10, 2018 at approximately 4:34 p.m. Eastern Time.

               ccc.   On October 15, 2018 at approximately 12:40 p.m. Eastern Time.

               ddd.   On October 18, 2018 at approximately 11:22 p.m. Eastern Time.

               eee.   On October 23, 2018 at approximately 1:07 p.m. Eastern Time.

               fff.   On October 26, 2018 at approximately 11:50 a.m. Eastern Time.

               ggg.   On October 31, 2018 at approximately 12:11 p.m. Eastern Time.

               hhh.   On November 6, 2018 at approximately 12:39 p.m. Eastern Time.


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                 iii.    On November 13, 2018 at approximately 11:54 p.m. Eastern Time.

                 jjj.    On December 10, 2018 at approximately 12:52 p.m. Eastern Time.

          RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, and seeks information neither relevant to the claims or

   defenses in this matter nor proportional to the needs of this case. Subject to and without

   waiving said objections, see the servicing notes and records and call logs produced

   contemporaneously herewith. Please note the records produced herewith contain certain

   redaction to help limit the disclosure of Plaintiff’s personal information such as his social

   security number. Please note they also contain redactions where applicable to protect

   communications protected by the attorney-client privilege.

          23.    Full and complete copies of all notes, reports, memoranda, statements, entries,

   emails, electronic messages, or other documents referring or relating to Todd consenting or

   withdrawing consent to receive calls to his cellular phone regarding the Loan from a

   representative of Ocwen.

          RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, and seeks information neither relevant to the claims or

   defenses in this matter nor proportional to the needs of this case. Subject to and without

   waiving said objections, see the servicing notes and records and call logs produced

   contemporaneously herewith. Please note the records produced herewith contain certain

   redaction to help limit the disclosure of Plaintiff’s personal information such as his social

   security number. Please note they also contain redactions where applicable to protect

   communications protected by the attorney-client privilege.

          24.    Full and complete copies of all policies, practices, and procedures regarding

   Ocwen's use of automatic dialing systems, predictive dialers, and equipment with the capacity to

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   dial telephone numbers without human intervention implemented or followed by Ocwen during

   the past 5 years.

          RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, and seeks information neither relevant to the claims or

   defenses in this matter nor proportional to the needs of this case. Subject to and without

   waiving said objections, the above request assumes and/or is based on the premise that

   Defendant used “automatic dialing systems, predictive dialers, and equipment with the

   capacity to dial telephone numbers without human intervention.” Defendant rejects this

   assumption and/or premise and thus cannot respond to the above request as phrased.

          25.     Documents that identify the owner, manufacturer, installer, make and/or model of

   any and all automatic dialing systems, predictive dialers and equipment with the capacity to dial

   telephone numbers without human intervention used by representatives of Ocwen to call Todd in

   connection with the Loan.

          RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, and seeks information neither relevant to the claims or

   defenses in this matter nor proportional to the needs of this case. Subject to and without

   waiving said objections, the above request assumes and/or is based on the premise that

   Defendant used “automatic dialing systems, predictive dialers and equipment with the

   capacity to dial telephone numbers without human intervention” to call Plaintiff.

   Defendant rejects such assumption and/or premise and thus cannot respond to the above

   request as phrased.




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          26.    Full and complete copies of all notes, reports, memoranda, statements, entries,

   emails, electronic messages, or other documents referring to, relating to and/or justifying the

   following:

                 a.     The Mortgage Account Statement forwarded to Todd on or about
                        November 8, 2016, which is attached as "Exhibit E" to Plaintiff’s First
                        Amended Complaint and Demand for Jury Trial, seeking immediate
                        payment of $14,256.83.

                 b.     The Delinquency Notice mailed to Todd on November 8, 2016, which is
                        attached as "Exhibit F" to Plaintiff’s First Amended Complaint and
                        Demand for Jury Trial, seeking immediate payment of $14,449.12.

                 c.     The correspondence directed to Todd on or about December 14, 2016,
                        entitled "Funds Returned," which is attached as "Exhibit G" to Plaintiff’s
                        First Amended Complaint and Demand for Jury Trial.

                 d.     The January 6, 2017, letter mailed to Todd by Ocwen stating he is default
                        and stating that if he remains in default he will lose his home.

                 e.     The Notice of Default, seeking immediate payment of $1,951.93, mailed
                        by Ocwen to Todd on January 6, 2017.

                 f.     The Delinquency Notice, seeking immediate payment of $2,624.20,
                        mailed by Ocwen to Todd on January 10, 2017.

                 g.     The Delinquency Notice, seeking immediate payment of $1,384.96 to
                        avoid foreclosure, mailed by Ocwen to Todd on January 25, 2017, which
                        is as "Exhibit H" to Plaintiff’s First Amended Complaint and Demand for
                        Jury Trial.

                 h.     The Delinquency Notice, seeking immediate payment of $1,522.97,
                        mailed by Ocwen to Todd, dated February 15, 2017.

                 i.     The Notice of Default, seeking immediate payment of $870.48, mailed by
                        Ocwen to Todd, dated February 24, 2017.

                 j.     The correspondence to Todd, dated March 13, 2017, stating: "We have not
                        received your 02/01/2017 through 03/01/2017 mortgage payments."

                 k.     The Delinquency Notice, seeking immediate payment of $1,608.49,
                        mailed by Ocwen to Todd, dated March 20, 2017.

                 l.     The Delinquency Notice, seeking immediate payment of $956. 00, mailed
                        by Ocwen to Todd, dated March 28, 2017.


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               m.    The Delinquency Notice, seeking immediate payment of $1,694. 01,
                     mailed by Ocwen to Todd, dated April 18, 2017.

               n.    The Pre-Foreclosure Notice mailed by Ocwen to Todd, dated April 27,
                     2017, which is attached as "Exhibit I" to Plaintiff’s First Amended
                     Complaint and Demand for Jury Trial.

               o.    The Notice of Default, seeking immediate payment of $1,041.52, mailed
                     by Ocwen to Todd, dated April 2 7, 2017.

               p.    The Delinquency Notice, seeking immediate payment of $1,770.01,
                     mailed by Ocwen to Todd, dated May 22, 2017.

               q.    The Notice of Default, seeking immediate payment of $1,113.79, mailed
                     by Ocwen to Todd, dated May 25, 2017.

               r.    The Notice of Default, seeking immediate payment of $1,205. 54, mailed
                     by Ocwen to Todd, dated June 28, 2017.

               s.    The Notice of Default, seeking immediate payment of $1,268.29, mailed
                     by Ocwen to Todd, dated July 25, 2017.

               t.    The Notice of Default, seeking immediate payment of $1,402.61, mailed
                     by Ocwen to Todd, dated September 27, 2017.

               u.    The Notice of Default, seeking immediate payment of $1,465.72, mailed
                     by Ocwen to Todd, dated October 25, 2017.

               v.    Notice of Default, seeking immediate payment of $1,473.08, mailed by
                     Ocwen to Todd, dated November 29, 2017.

               w.    The Notice of Default, seeking immediate payment of $1,439.00, mailed
                     by Ocwen to Todd, dated December 27, 2017.

               x.    The correspondence Ocwen mailed to Todd, dated January 2, 2018 and
                     titled "Assistance Options May Be Available," stating the Loan was past
                     due for the November 1, 2017, through January 1, 2018, payments and
                     that the total amount owed was $2,032.18, which is attached as "Exhibit J"
                     to Plaintiff’s First Amended Complaint and Demand for Jury Trial.

               y.    The correspondence Ocwen mailed to Todd dated January 4, 2018,
                     seeking the 11/1/2017 through 1/1/2018 payments on the Loan.

               z.    The Notice of Default, seeking immediate payment of $1,446.68, mailed
                     by Ocwen to Todd, dated January 24, 2018.

               aa.   The Notice of Default, seeking immediate payment of $1,461.40, mailed
                     by Ocwen to Todd, dated March 27, 2018.


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               bb.   The correspondence Ocwen mailed to Todd, dated April 24, 2018, and
                     titled "Assistance Options May Be Available," stating the Loan was past
                     due for the March and April payments in the amount of $585.56 each.

               cc.   The Notice of Default, seeking immediate payment of $1,586.12, mailed
                     by Ocwen to Todd, dated May 30, 2018, which is attached as "Exhibit K"
                     to Plaintiff’s First Amended Complaint and Demand for Jury Trial.

               dd.   The Notice of Default, seeking immediate payment of $1,593.48, mailed
                     by Ocwen to Todd, dated June 27, 2018, which is attached as "Exhibit L"
                     to Plaintiff’s First Amended Complaint and Demand for Jury Trial.

               ee.   The Notice of Default, seeking immediate payment of $1,593.54 and
                     stating: "In order to cure the default, payment for the entire total amount
                     past due, plus any amount(s) becoming due in the interim, must be
                     received on or before 08/31/2018, at the address listed on page four of this
                     notice," mailed by Ocwen to Todd, dated July 25, 2018, which is attached
                     as "Exhibit M" to Plaintiff’s First Amended Complaint and Demand for
                     Jury Trial.

               ff.   The correspondence Ocwen mailed to Todd, dated July 30, 2018, and
                     titled "Assistance Options May Be Available," stating the account was due
                     for 6/1/2018 through 711/2018, in the amount of $585.56 each.

               gg.   The Notice of Default, seeking immediate payment of $1,593.31, mailed
                     by Ocwen to Todd, dated August 24, 2018, which is attached as
                     "Exhibit N" to Plaintiff’s First Amended Complaint and Demand for Jury
                     Trial.

               hh.   The Notice of Default, seeking immediate payment of $1 ,593.08, mailed
                     by Ocwen to Todd, dated September 25, 2018, which is attached as
                     "Exhibit O" to Plaintiff’s First Amended Complaint and Demand for Jury
                     Trial.

               ii.   The Notice of Default, seeking immediate payment of $1 ,592.85, mailed
                     by Ocwen to Todd, dated October 26, 2018, which is attached as
                     "Exhibit P" to Plaintiff’s First Amended Complaint and Demand for Jury
                     Trial.

               jj.   The Notice of Default, seeking immediate payment of $2,177.89 and
                     stating, "Failure to cure the default on or before the date specified in the
                     notice may result in acceleration of the sums secured by the Security,
                     foreclosure by judicial proceeding and sale of the Property," mailed by
                     Ocwen to Todd, dated December 12, 2018, which is attached as
                     “Exhibit Q” to Plaintiff’s First Amended Complaint and Demand for Jury
                     Trial.



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                  kk.    The Notice of Default, seeking immediate payment of $2,206.38 and
                         stating: "Mortgage payments on the above referenced account are past
                         due, which has cause a default under the terms of the Mortgage or Deed of
                         Trust," mailed by Ocwen to Todd, dated January 4, 2019, which is
                         attached as "Exhibit R" to Plaintiff’s First Amended Complaint and
                         Demand for Jury Trial.

          RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, seeks information protected by the attorney-client

   privilege, and seeks information neither relevant to the claims or defenses in this matter

   nor proportional to the needs of this case. Subject to and without waiving said objections,

   see the servicing notes and records produced contemporaneously herewith, along with

   copies of the note and mortgage. Please note the records produced herewith contain

   certain redaction to help limit the disclosure of Plaintiff’s personal information such as his

   social security number.      Please note they also contain redactions where applicable to

   protect communications protected by the attorney-client privilege.

          27.     Full and complete copies of all credit reporting data and/or e-Oscar AUD's

   provided to any credit reporting agency with regard to the loan at issue herein.

          RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, and seeks information neither relevant to the claims or

   defenses in this matter nor proportional to the needs of this case. Subject to and without

   waiving said objections, see the AUDs produced contemporaneously herewith. Please note

   the records produced herewith contain certain redaction to help limit the disclosure of

   Plaintiff’s personal information such as his social security number. Please note they also

   contain redactions where applicable to protect communications protected by the attorney-

   client privilege.




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          28.        Full and complete copies of all notes, reports, memoranda, statements, entries,

   emails, electronic messages, or other documents referring to, relating to and/or justifying

   Ocwen's response to Todd's "NOE No. 1," which response is identified in paragraphs 220 and

   221 of the Plaintiff’s First Amended Complaint and Demand for Jury Trial and attached thereto

   as "Exhibit W."

          RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, and seeks information neither relevant to the claims or

   defenses in this matter nor proportional to the needs of this case. Subject to and without

   waiving said objections, see the servicing notes and records produced contemporaneously

   herewith, along with copies of the note and mortgage. Please note the records produced

   herewith contain certain redaction to help limit the disclosure of Plaintiff’s personal

   information such as his social security number. Please note they also contain redactions

   where applicable to protect communications protected by the attorney-client privilege.

          29.        Full and complete copies of all notes, reports, memoranda, statements, entries,

   emails, electronic messages, or other documents referring to, relating to and/or justifying

   Ocwen's response to Todd's "NOE No. 2," which response is identified in paragraphs 235 and

   239 of the Plaintiff’s First Amended Complaint and Demand for Jury Trial and attached thereto

   as "Exhibit Y."

          RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, and seeks information neither relevant to the claims or

   defenses in this matter nor proportional to the needs of this case. Subject to and without

   waiving said objections, see the servicing notes and records produced contemporaneously

   herewith, along with copies of the note and mortgage. Please note the records produced



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   herewith contain certain redaction to help limit the disclosure of Plaintiff’s personal

   information such as his social security number. Please note they also contain redactions

   where applicable to protect communications protected by the attorney-client privilege.

          30.      Full and complete copies of all notes, reports, memoranda, statements, entries,

   emails, electronic messages, or other documents referring to, relating to and/or justifying Ocwen'

   s response to Todd's "NOE No. 3," which response is identified in paragraphs 255 and 258 of the

   Plaintiff’s First Amended Complaint and Demand for Jury Trial and attached thereto as

   "Exhibit BB."

          RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, and seeks information neither relevant to the claims or

   defenses in this matter nor proportional to the needs of this case. Subject to and without

   waiving said objections, see the servicing notes and records produced contemporaneously

   herewith, along with copies of the note and mortgage. Please note the records produced

   herewith contain certain redaction to help limit the disclosure of Plaintiff’s personal

   information such as his social security number. Please note they also contain redactions

   where applicable to protect communications protected by the attorney-client privilege.

          31.      Full and complete copies of all notes, reports, memoranda, statements, entries,

   emails, electronic messages, or other documents referring to, relating to Todd's "NOE No. 4,"

   which is identified in paragraphs 259 and 260 of the Plaintiff’s First Amended Complaint and

   Demand for Jury Trial and attached thereto as "Exhibit CC. "

          RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, and seeks information neither relevant to the claims or

   defenses in this matter nor proportional to the needs of this case. Subject to and without



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   waiving said objections, see the servicing notes and records produced contemporaneously

   herewith, along with copies of the note and mortgage. Please note the records produced

   herewith contain certain redaction to help limit the disclosure of Plaintiff’s personal

   information such as his social security number. Please note they also contain redactions

   where applicable to protect communications protected by the attorney-client privilege.

          32.    A full and complete copy of all servicing agreements, servicing contracts, or other

   memoranda setting forth or describing the terms, limitations, and/or scope of Ocwen's servicing

   duties as they relate to Deutsche Bank and the Loan.

          RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, and seeks information neither relevant to the claims or

   defenses in this matter nor proportional to the needs of this case.

          33.    A full complete copy of Ocwen's entire servicing file relative to the Loan,

   including without limitation a full and complete copy of all servicing notes, collection notes,

   reports, memoranda, statements, entries, emails, electronic messages, or other documents

   generated in connection with the servicing of this loan as well as all correspondence and

   documents directed to Todd or received by Ocwen from Todd, including without limitation all

   recordings of all telephone calls between Todd and any representative of Ocwen.

          RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, and seeks information neither relevant to the claims or

   defenses in this matter nor proportional to the needs of this case. Subject to and without

   waiving said objections, see the servicing notes and records, call logs, and call recordings

   produced contemporaneously herewith. Please note the records produced herewith contain

   certain redaction to help limit the disclosure of Plaintiff’s personal information such as his



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   social security number.      Please note they also contain redactions where applicable to

   protect communications protected by the attorney-client privilege.

          34.     Full and complete records of all payments and all disbursements related to the

   Loan, including without limitation all transaction histories, account reconciliation histories,

   bankruptcy reconciliation histories, life of loan histories, and monthly statements.

          RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, and seeks information neither relevant to the claims or

   defenses in this matter nor proportional to the needs of this case. Subject to and without

   waiving said objections, see the servicing notes and records produced contemporaneously

   herewith.    Please note the records produced herewith contain certain redaction to help

   limit the disclosure of Plaintiff’s personal information such as his social security number.

   Please note they also contain redactions where applicable to protect communications

   protected by the attorney-client privilege.

          35.     Full and complete copies of all servicing manuals, memoranda, notes, polices, and

   employee training materials related to reviewing, analyzing, and responding to Notices of Errors

   pursuant to 12 C.P.R. §1024.35 and/or responding to any other correspondence from a borrower

   regarding concerns or potential errors with their loans.

          RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, and seeks information neither relevant to the claims or

   defenses in this matter nor proportional to the needs of this case.

          36.     Full and complete copies of any and all contracts and vendor policies that Ocwen

   has with any outside entity or vendor that Ocwen utilizes for the mailing of any notices related to




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   the Loan, including without limitation for mailing acknowledgments of, or responses to, Notices

   of Error pursuant to 12 C.P.R.§ 1024.35.

          RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, and seeks information neither relevant to the claims or

   defenses in this matter nor proportional to the needs of this case.

          37.     A full and complete copy of the employment file of each Ocwen employee who

   was personally involved in the investigation or review of Todd's various Notices of Error or other

   written correspondence provided by Todd or on Todd's behalf, the preparation of any response to

   Todd's various Notices of Error or written correspondence, was a party to any telephone

   conversation with Todd, or was otherwise tasked by Ocwen to correct any errors associated with

   the Loan.

          RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, and seeks information neither relevant to the claims or

   defenses in this matter nor proportional to the needs of this case.

          38.     Full and complete copies of any and all documents relating to policies or

   directives of Ocwen regarding treatment of loans and mortgage accounts of debtors involved in a

   Chapter 13 bankruptcy, including without limitation and post-petition payment application

   policies and directives.

          RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, and seeks information neither relevant to the claims or

   defenses in this matter nor proportional to the needs of this case.

          39.     Full and complete copies of any and all documents relating to policies or

   directives regarding collection procedures for loans or mortgage accounts that were involved in a



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   Chapter 13 bankruptcy, including without limitation policies or directives directly affecting the

   Loan.

           RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, and seeks information neither relevant to the claims or

   defenses in this matter nor proportional to the needs of this case.

           40.    Copies of any and all consumer complaints provided to Ocwen from the

   Consumer Financial Protection Bureau related to the issue characterized by the Consumer

   Financial Protection Bureau's Consumer Complaint Database as "Loan modification, collection,

   foreclosure" during the time period from January of 2018 to the present.

           RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, and seeks information neither relevant to the claims or

   defenses in this matter nor proportional to the needs of this case.

           41.    Copies of any and all of Ocwen’s responses to the consumer complaints produced

   in response to the immediately preceding request.

           RESPONSE: Defendant objects to the above request on the basis that it is overly

   broad, unduly burdensome, vague, and seeks information neither relevant to the claims or

   defenses in this matter nor proportional to the needs of this case.

           42.    Each and every document identified in any response to any interrogatory served

   by Todd in this lawsuit.

           RESPONSE: Plaintiff has not served any interrogatories on Defendant.

           43.    A copy of each and every exhibit you intend to use at trial on this matter.

           RESPONSE: Defendant objects to the above request on the basis that it is

   premature.     Subject to and without waiving said objections, Defendant has not yet



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                                                                                    Exhibit B
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   determined what exhibits it will use at trial. However, Defendant expressly reserves the

   right to use any documents produced or identified in discovery by the parties. Defendant

   also expressly reserves the right to use any documents obtained from any third-parties.

   Finally, ongoing investigations and discovery may reveal additional documents that

   Defendant may use at trial. Defendant expressly reserves the right to use such documents.



                                                 Respectfully submitted,

                                                 HINSHAW & CULBERTSON LLP

                                                 /s/ Joseph D. Kern
                                                 Joseph D. Kern


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                                                                            Exhibit B
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                                   CERTIFICATE OF SERVICE
           I, Joseph D. Kern, an attorney, certify that on June 25, 2019, caused to be served a copy
   of the foregoing DEFENDANT OCWEN LOAN SERVICING, LLC’S RESPONSES TO
   PLAINTIFF’S REQUESTS FOR PRODUCTION by: depositing same in the U.S. Mail box at
   151 North Franklin Street, Chicago, Illinois 60606, prior to 5:00 p.m., postage prepaid;
   messenger delivery; UPS; facsimile transmitted from (312) 704-3001; email; or electronically
   via the Case Management/Electronic Case Filing system (“ECF”), as indicated below.

          ECF
          Facsimile
          UPS
          U.S. Mail
          E-Mail
          Messenger Delivery


   To: All Parties of Record




                                                   /s/ Joseph D. Kern
                                                   Joseph D. Kern




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                                                                                 Exhibit B
